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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 V.                                               §             CRIMINAL NO. 6:02-CR-64-02
                                                  §
 WENDELL HAYS                                     §


                            REPORT AND RECOMMENDATION OF
                            UNITED STATES MAGISTRATE JUDGE

        On May 10, 2007, the Court conducted a hearing to consider the government’s petition to

 revoke the supervised release of Defendant, Wendell Hays. The government was represented by

 Mary Ann Cozby, Assistant United States Attorney for the Eastern District of Texas, and Defendant

 was represented by the court-appointed federal defender, Ken Hawk.

        Defendant originally pleaded guilty to Possession with Intent to Distribute

 Methamphetamine, a Class C felony. The offense carried a statutory maximum imprisonment term

 of 20 years. The United States Sentencing Guideline range, based on a total offense level of 21 and

 a criminal history category of I, was 37 to 46 months. On February 6, 2003, U.S. District Judge

 Leonard Davis granted a downward departure for substantial assistance and sentenced Defendant to

 30 months imprisonment followed by a term of three years supervised release, subject to the standard

 conditions of release, plus special conditions to include financial disclosure and testing and treatment

 for drug abuse. On December 6, 2004, Defendant completed the term of imprisonment and began

 the term of supervised release.

        Under the terms of supervised release, Defendant was prohibited, in relevant part, from:

 committing another federal, state or local crime. In its petition, the government alleges that

 Defendant violated his condition of supervised release by pleading guilty and being convicted of the
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 offense of Driving While Intoxicated 3rd or More in the District Court, 294th Judicial District, Van

 Zandt County, Texas, on March 15, 2007.

        If the Court finds by a preponderance of the evidence that Defendant committed this

 violation, a statutory sentence of no more than two years of imprisonment may be imposed. 18

 U.S.C. § 3583(e)(3). Pursuant to Section 7B1.1(a) of the Sentencing Guidelines, violating a

 condition of supervision by conviction for Driving While Intoxicated 3rd or More would constitute

 a Grade B violation, for which the Court shall revoke Defendant’s term of supervised release in favor

 of a term of imprisonment. U.S.S.G. § 7B3.1(a)(1). Considering Defendant’s criminal history

 category of I, the Guideline imprisonment range is 4 to 10 months. U.S.S.G. § 7B1.4(a).

        At the hearing, the Government moved to dismiss the petition and continue on supervised

 release, subject to the modification that Defendant not be permitted to drive during the period of

 supervised release. Defendant’s counsel joined in the Government’s motion.

        Pursuant to the Sentencing Reform Act of 1984, and the agreement of the parties, the Court

 RECOMMENDS that the Court DISMISS the petition revoke supervised release against

 Defendant, Wendell Hays. Further, the Court RECOMMENDS that Defendant be allowed to finish

 out his supervised release period under his current conditions of supervised release, modified by the

 condition that Defendant not be permitted to drive during the remaining period of supervised release.

        A party’s failure to file objections to the findings, conclusions, and recommendations

 contained in this Report within ten days after service with a copy thereof shall bar that party from

 de novo review by the district judge of those findings, conclusions, and recommendations and,

 except upon grounds of plain error, from appellate review of the unobjected-to proposed factual

 findings and legal conclusions accepted and adopted by the district court. Douglass v. United States


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 Auto. Ass’n, 79 F.3d 1415, 1430 (5th Cir. 1996) (en banc)



                        So ORDERED and SIGNED this 11th day of May, 2007.




                                                        ___________________________________
                                                                   JOHN D. LOVE
                                                        UNITED STATES MAGISTRATE JUDGE




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